                                                                                ._
      Case 2:17-cv-08495-TJH-JC Document 1 Filed 11/21/17 Page 1 of 8 Page IDFILED
                                                                               #:1                                                   _ ..
                                                                                                              CLERK, U.S. DISTRICT COURT


                                                                                                                     NOV 2 ~ 2011.
  FULL NAME

  ft I _ 1 Y r0 r'1 ~               ~/a~-c.kSo ri..                                                         CENTRAL DIST        F CALIFORNIA
  COMM14TTED NA    (ifdilFereM)                                                                             BY                       DEPUTY


  FULL ADDRESS I   LUDINO NAA~ OF IMSTITI. lON                                                                         r~ D~J
                                                                                                                            -
       _          ~~~                 [                  tl




                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA
                                                                           CASE NUMBER             _r T~~                     ,~~

           `--_    C    ~                                                        r              To be supplied by the Clerk
      i~►vN             cJGi.C~~ o l'l.
                                                          pLA1NTIFF,
                                                                                     CIVIL RIGHTS COMPLAINT
~/4I,E,~Q~f1~._'~"'d ~~j4~1~                            ~ ~~~✓
                                                                                       PORSUANT TO (Check one)
                                                                   42 U.S.C. § 1983
'              ~                                   DEFENDANT(S1. ~
                                                 ~.;~                      O Bivens v. Six Unknown Agents 403 U.S. 388(1971)

A. PREVIOUS LAWSUITS
                                                                                         r
     L Have you brought any other lawsuits in a federal court while a prisoner: [aI Yes ~No

    2. If your answer to "1." is yes, how many?                     -{--

           Describe the lawsuit in the space below. (Ifthere is more than one lawsuit, describe the additional lawsuits on ate
           attached piece of paper using the same outline.)




                                                                                                           L~

                                                          CIVIL RIGHTS COMPLAINT
CV-66(7/97)                                                                                                                   Page 1 of6
            Case 2:17-cv-08495-TJH-JC Document 1 Filed 11/21/17 Page 2 of 8 Page ID #:2


               a. Parties to this previous lawsuit:
                  Plaintiff                 _    __         ~




               c. Docket or case number ~ f~•l'~~"-~s,3"                                    *'~~~ ~~K.            ~,~
               d. Name ofjudge to whom case. was assigned                     ~~            '~`~~
                                                                                                ~_
               e. Disposition(For example: Was the case dismissed? Ifso, what was the basis for dismissal? Was it
                     appealed? Is it still pending?) ' ~                 r
              f. Issues c~ised: TA~.S               ,~A~f             d~✓




               g. Approximate date offiling lawsuit: 4;fi+~.f.~'f
               h. Approximate date of disposition ~ 12'~ ~✓~'~ /~~'


      B. EXHAUSTION OF ADMINISTRATIVE REMEDIES

          1. Is there a grievance procedure available at the institution where the events relating to your current complaint
               occurced? ❑Yes        ~.No

          2. Have you filed a grievance concerning the facts relating to your current complaint?                    'Yes ,~,] No

              If your answer is no, explain why not /'✓,~~
                                                       ,.

                                                                Ir~

          3. Is the grievance procedure completed? t~ Yes                 CiI No
                                                                         r
              If your answer is no, explain why not         ~' •~F~+ ~"4~~ ~d I                      ~~G~'~1,~~'~~ "~-
                    R~.`~s,r~m~✓r.~ ~6~.~.~                      ~t
          4. Please attach copies of papers related to the grievance procedure.

      C. JURISDICTION

          This complaint alleges that the civil rights of plaintiff              /~ ~        ~ y✓d ~`~            ~~-~i~-S O'~ ,
                                                                                                     (print planriffs name)

          who rresently resides at ~,~         ~I                            "~ ~ ~ ~        +~~j ~i~~•                 .~ ~-`'~'rt` ~1
                                                                 ~i mg a rest nr n                 often mement

          were violated by the actions ofthe defendants)named below, which actions were directed against plaintiff at

                                                       u~stituho      city w re v~o anon occurre
                           ,,'

                                                                CIVIL
      CV-66(7/97)                                                                                                                    Page 2 of6




1._                   _                    _                                 _. __      _     __                              _                   __   _   J
                                                                    F`       ~

         Case 2:17-cv-08495-TJH-JC Document 1 Filed 11/21/17 Page 3 of 8 Page ID #:3



     on (date or dates)~4dG~~ 7. 'rZOf7                                          to`' ~l,`i'`'            "~       _~. '~`Q 1 ~I
                         T—'~'Cnm~~'                               -             iCr~im~

     NOTE:        You need not name more than one defendant or allege more than ore claim. If you are naming mare than
                  five(5)defendants, make a copy ofthis page to provide the information for additional defendants.

     1. Defendant              1~~~~~c,~ ~-' ~ t ~ # CIV~                                                               resides or works at
                      ~nrn name nr nrct nese~►nant~ i                        ~

                                                                                                                           i3~3y
                                                                                                                           ~




          The defendant.is. sued in his/her(Check one or both):                     'individual   ['!'official capacity..

          Explain how this defendant was acting under color oflaw:




     2. Defendant       j'' r~ "          ." , ,              ~ ,, ;- .~ ~                                             resides or works at
                           name o            en    t~                                ~

                                                                                                                   ~ ,..
                     (full address offirst defcadant)

                         en    ts pos~hon an b e~ i any


          The defendant is sued in his/her(Check one or both): p`:individual                      ft~official capacity.

         Explain how thiis defendant was acting under color oflaw:




     3. Defendant                                                                                                      resides or works at
                          name o      t      en    t

                    (full address offirst defendant)

                               ts position        b e,i eny


         The defendant is sued in his/her(Check one or both): ❑individual                         ❑official capacity.

         Explain how this defendant was acting under color oflaw:




                                                         crvu,iuca~rs co~t.,a►n~rr
CV-66 (7/9'n                                                                                                                          Page 3 of 6
        Case 2:17-cv-08495-TJH-JC Document 1 Filed 11/21/17 Page 4 of 8 Page ID #:4


     a. Defendant                                                                                     resides.or works at
                          name o             en     t

                    (fiill address offirst defendant)

                                s position        h e, i any


         The defendant is sued in his/her(Check one or Uath); ❑individual           ❑official capacity.

         Explain how this defendant was acting under color of law:




    5. Defendant                                                                                      resides or works at
                    (full name offirst ~fendant)

                    (fWl address offirst defendant)

                               s pos~hon          ti e, i airy


         The defendant is sued in his/her(Check one or both): ❑individual           ❑official capacity.

        Explain how this defendant was acting under color oflaw:




                                                           CIVII.RIGAT3 COMPLAINT
CV-66(7/97)                                                                                                         Page 4 of6
                                                                  ~~;;,::;
         Case 2:17-cv-08495-TJH-JC Document 1 Filed 11/21/17 Page 5 of 8 Page ID #:5

D. CLAIMS*
                                                           CLAIM I
     The following civil right has been violated:




    /~'l~ l~/K/~/4'~ /'Gl~ ~t~'~i~.•




    Supporting Facts: Include allfacts you consider important. State the facts clearly, in your own words, and without
    citing legal authority or argument. Be-certau~ you describe, in separately numbered paragraphs, exactly what each
    DEFENDANT(by name)did to violate your right.




         ~fi~ ~,                r                      ~~                         ~                ~ r
    ~r~~ l~v                                          ~ .~d 1~.~c►~.~i~r              . 14ow~v~iC..~A

              v~~ 'ter ;,,1.~vv fb !~~ l~s~d, ~~✓ ~~ -~                                     ~=.

    *Ijthere is more than one claim, describe the additional claims) on another attachedpiece ofpaper using the same
    outline.


                                                    CIVIL RIGHTS COMPLAINT
CV-66(7/9'n                                                                                                    Page 5 of6
         Case 2:17-cv-08495-TJH-JC Document 1 Filed 11/21/17 Page 6 of 8 Page ID #:6

 E. REQUEST FOR RELIEF

     I believe that I am entitled to the following specific.relief:




                (Date)                                                   (Signature ofPlaint;fn




                                                   CIVII. RIGHTS COMPLAINT
CV-66(7/9'n                                                                                       Page 6 of6
                                                                                                                                                       _"--                                              _
                                                                                                                                           _
                 ~ Case f~~~~luFrq~~•r(!.~
                                         „rn~r41~4~~N'
                         2:17-cv-08495-TJH-JC                                                    Document   1 Filed 11/21/17 Page 7 of 8 Page ID #:7
                                                                                                  t~~~ ~v~..tr.~~t




tt                                           -                                                                                                                                                                   ..
f




                                                                                                                                                           ~~~.
                                                                                                                                                       u.s~

                     ~,~.~~~                               ~- ,: ~'~ ~                                 ~~...                           t               ~ 0viz
     ,~
          1,~, ~                                                                                                                                   Y                    ~~~~
                                                                                                                                                                          ~~„~
                                                                                                                                                                    ~
          s~ Qr ~
             ,.. ~~_~+~,                                                   1                     .:                      .s_ .~_ .,,_-.- .. _                                                       ~~
                         i~l~~i f~~r~l~fT~~~~~rr~l~~l~                                                             '~~t7'~C.'F4~
                                                               i~~~~el~~1l~If~~Yul~fff~{~t~~II


                                                  ~                                ,.    -_                         ~                                                   USk                 -                     ~.


                                  ..               -       -           ~                                                                                                      Bern S~alkn
                                                                                                                                                                                                _
                                                                                              /.~                                     ...ter.~
                                                                               ~~~`T~ti.~ s {~

                        /         r                                                                                                            U.S. P~9TR1Cl CNUR1
                      q l .«~'~" f                                         ,~ ~~r ~ ~",~' ,~j' cola j
                    t~                                                                                                           :~~ ~~p2011
                                                                                                                                               p~gfglCTOrCA1-~PUTY
                                                                                                                                 8~
                          9



                                                                                                                                                                                    -               ___
                    ~G~.. Lr"'-S O I`LL-                                                                   -                           ~                ~                               -~


              /'~                        /             /                                                                                                       ~~sva~
                                                                                                                                                        .               USA                                  -
      ~~V ~~~'Y ~L~ J                            ~ 1 ~:                                                                                        w
                                                                                                                                               e          s .~`ti
                                                                                                                                                         .'..
                                                                                                      ~.       ~                               s
                                                                                                                                                                          Barn 3~alfe.




               '
                                                                      ~ ~"              ~~                         is~°^~~ El~"x̀ ~c~~~ ~- ~ a

                                                                                                                   ~`'
                              ~                                                                                              t                 r~~          ~~~
                    ~~                                             ~ ~~ ~r ~~~ ~~
                                                                                                                                                                    ~~
             1 a~ 3                                                                           +~~ = ~ ~ ~`:. - ~i~►af~l„~i~1~lh~i~t~ ~ntf~#~lir~t~,~~.~t~+~~tua~~'
     .v_~~
Case 2:17-cv-08495-TJH-JC Document 1 Filed 11/21/17 Page 8 of 8 Page ID #:8
                                   3
